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                          Proposed Order Page 1 of 3




                        Exhibit A
                                                                                                    Case 2:23-ap-01228-WB        Doc 22-1 Filed 11/13/23 Entered 11/13/23 15:08:08         Desc
                                                                                                                                   Proposed Order Page 2 of 3



                                                                                                      1   SQUIRE PATTON BOGGS (US) LLP
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                                                                                                      3   San Francisco, California 94104
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                                                                                                      5
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                                                                                                          Cleveland, OH 44114
                                                                                                      8   Telephone: (216) 479-8500
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                                                                                                     10   Attorneys for United Overseas Bank Limited
                                                                                                     11
SQUIRE PATTON BOGGS (US) LLP




                                                                                                                                     UNITED STATES BANKRUPTCY COURT
                                                                                                     12
                                                                  San Francisco, California 94104
                               555 California Street, Suite 550




                                                                                                     13                               CENTRAL DISTRICT OF CALIFORNIA

                                                                                                     14                                      LOS ANGELES DIVISION
                                                                                                     15

                                                                                                     16   In re:
                                                                                                                                                        Case No. 2:21-bk-13523-WB
                                                                                                     17   URBAN COMMONS, LLC,                            Chapter 7
                                                                                                     18                         Debtor.                 Adversary Case No. 2:23-ap-01228-WB
                                                                                                     19
                                                                                                                                                         ORDER GRANTING DEFENDANT
                                                                                                     20                                                  UNITED OVERSEAS BANK LIMITED’S
                                                                                                                                                         MOTION FOR JUDGMENT ON THE
                                                                                                     21                                                  PLEADINGS UNDER RULE 12(c)
                                                                                                     22
                                                                                                          CAROLYN A. DYE, Chapter 7 Trustee,             DATE: December 12, 2023
                                                                                                     23                                                  TIME: 2:00 p.m.
                                                                                                                   Plaintiff,                            PLACE: Courtroom 1375
                                                                                                     24                                                         255 E. Temple Street
                                                                                                          v.                                                    Los Angeles, CA 90012
                                                                                                     25

                                                                                                     26   UNITED OVERSEAS BANK LIMITED,

                                                                                                     27            Defendant.

                                                                                                     28
                                                                                                                                                                                                  ORDER
                                                                                                                                                                     CASE NO. 2:23-ap-01228-WB/CHAPTER 7
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                                                                                                                 On December 12, 2023, the Court heard Defendant United Overseas Bank Limited’s Motion
                                                                                                      1
                                                                                                          for Judgment on the Pleadings under Rule 12(c) (the “Motion”) filed pursuant to Rule 12(c) of the
                                                                                                      2
                                                                                                          Federal Rules of Civil Procedure, made applicable herein by Rule 7012(b) of the Federal Rules of
                                                                                                      3
                                                                                                          Bankruptcy Procedure. Based on the entire record of the hearing, all pleadings filed in support and
                                                                                                      4
                                                                                                          opposition to the Motion, upon considering the oral arguments of counsel, and upon finding that
                                                                                                      5
                                                                                                          notice was proper, and good cause shown:
                                                                                                      6
                                                                                                                 IT IS ORDERED:
                                                                                                      7
                                                                                                                 1. The Motion is granted.
                                                                                                      8
                                                                                                                 2. The Court enters judgment in favor of Defendant, denies Plaintiff any and all relief
                                                                                                      9
                                                                                                                     requested in the Complaint, and declares that all claims asserted by Plaintiff in the
                                                                                                     10
                                                                                                                     Complaint against Defendant are hereby dismissed with prejudice.
                                                                                                     11
SQUIRE PATTON BOGGS (US) LLP




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                                                                  San Francisco, California 94104
                               555 California Street, Suite 550




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                                                                                                                                                                                                       ORDER
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                                                                                                                                                                          CASE NO. 2:23-ap-01228-WB/CHAPTER 7
